     Case 5:23-cv-01118-AB-SSC Document 3 Filed 06/13/23 Page 1 of 2 Page ID #:14


AO 440(ftev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Central District of California



                        BRIAN BROWN


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                                                       ED                  C:iviKAet7bn No.


        CITY OF NEEDLES, BERNARD HATZ, II


                   --
                          Defe~rdant(s)


                                                  SUMMONS IN A CIVIL ACTION

To:(Defendant:s name m:d address)
                                          Bernard Hatz, II
                                          817 Third St
                                          Needles, CA 92363




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you(not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Cis.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                 Brian Brown, Pro-Se
                                 723 3rd St
                                 Needles CA 92363
                                (520) 831-0985


       if you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:                      2~3                                                                      ~.
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Civil Action No.

                                                 PROOF OF SERVICE
                  (This section should not befiled with the court unless required by Feel R. Civ. P. 4(1))

          Th1s Summons for (name ofindividual and title, ifanp)

was received by me on(date)

          ~ I personally served the summons on the individual at Uilace)
                                                                                  On (date)                           ; or

          Q I left the summons at the individual's residence or usual place of abode with (name
                                                                    a person of suitable age and discretion who resides there,
          on (date)                              ,and mailed a copy to the individuaPs last known address; or

          L~ 1 served the summons on (name o/'individual)                                                                      ,who is
           designated by law to accept service of process on behalf of(name oforgontZarton~
                                                                                  on (dare)                           ; or

          C7 1 returned the summons unexecuted because                                                                              ; or

          ~ Other (specify):




          My fees are $                          for travel and $                     for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                              Server's signature



                                                                                         Printed name and title




                                                                                              Server's address

Additional information regarding attempted service, etc:
